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                      UNITED STATES DISTRICT COURT                                       tAY
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISIO N

MARK DEES &
CLAIRE DEES,

               Plaintiffs,

V.                                                  CIVIL ACTION NO .

WASHINGTON MUTUAL BANK, F .A .,
CHASE HOME FINANCE, LLC,                                 "10-CV-4235
                                                       .L 0
JPMORGAN CHASE, N.A., &
JOHN DOES 1-1000,

               Defendants.

                               NOTICE OF REMOVAL

       Defendants Chase Home Finance, LLC ("Chase Finance") and JPMorgan

Chase Bank, N .A. (improperly sued as "JPMorgan Chase, N.A.") ("Chase Bank")

(collectively, "Defendants") hereby file this Notice of Removal pursuant to 28

U.S .C . §§ 1332, 144, and 1446 . In support of this Notice, Defendants state as

follows :

                             PROCEDURAL BACKGROUND

       1 . Plaintiffs Mark and Claire Dees ("Plaintiffs") purportedly commenced

a civil action against Defendants on November 23, 2010 by filing a "Petition to
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Quiet Title" (the "Complaint") in the Superior Court of Cobb County, State of

Georgia, Civil Action File No . 10-1-11419-49 (the "State Court Action") .'

                       PROCEDURAL PREREQUISITES

      2 . This Notice of Removal is timely under 28 U .S .C. § 1446(b) because

it is being filed within thirty (30) days after Defendants first received, through

service or otherwise, a copy of Plaintiffs' Complaint in the State Court Action .2

      3 . As required by 28 U .S.C. § 1446, true and correct copies of all

process and pleadings served upon Defendants in the State Court Action are

attached hereto as Composite Exhibit A .

      4 . A removal notice and a copy of the instant Notice of Removal shall be

filed with the Clerk of the Superior Court of Cobb County, State of Georgia, and

shall be served on Plaintiffs . A true and correct copy of the removal notice filed




  The State Court Action is related to two other state court lawsuits filed by the
Plaintiffs against Defendants on November 23, 2010 in Gwinnett Superior Court
(Civil Action File Nos . 2010-A-10512-10 and 2010-A-10513-10) . Indeed, these
other actions contain similar allegations and request similar and/or identical relief .
On December 28, 2010, Defendants removed the Gwinnett Superior Action (File
No . 2010-A-10512-10 ) to this Court, which was assigned Civil Action No . L• 10-
CV-421 8 by this Court . The State Court Action should thus be designated as a
"related case."

2 Indeed, Plaintiffs do not even purport to have served Chase Bank or Chase
Finance until November 29, 2010 .

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with the Clerk of the Superior Court for Cobb County, State of Georgia is attached

hereto as Exhibit B .

       5 . Removal to this Court in particular is proper pursuant to 28 U .S .C .

§§ 1441 and 1446 because the State Court Action is currently pending in this

Judicial District.

                           DIVERSITY JURISDICTION

       8 . Removal of this action is proper under 28 U .S .C. § 1332 because the

parties' citizenships are fully diverse and the amount in controversy for Plaintiffs'

claims is more than $75,000 exclusive of interest and costs .

                          Complete Diversity of Citizenship

       9. Plaintiffs are both citizens of Georgia. (Compl . at 1 .)

       10. Chase Finance is a limited liability company whose sole member is

Chase Home Finance, Inc . "[A] limited liability company is a citizen of any state

of which a member of the company is a citizen ." Internet Bus . Solutions, Inc . v.

Britt Worldwide, LLC, 4 :07-CV-129 HL, 2007 WL 2583718, *1 (M .D . Ga. Sept. 4,

2007) (quoting Rolling Greens, MHP, L .P. v. Comcast SCH Holdings, LLC, 374

F.3 d 1020, 1022 (1 l th Cir . 2004)) . A corporation is "a citizen of any State by

which it has been incorporated and of the State where it has its principal place of

business." 28 U .S.C. § 1332 . Chase Home Finance, Inc . was incorporated under



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the laws of Delaware and has its principal place of business in New Jersey .

Accordingly, both Chase Home Finance, Inc . and Chase Finance are citizens of

New Jersey and Delaware .

       11 . Chase Bank is a national banking association . A national banking

association is considered a citizen of "the State designated in its articles of

association as its main office ." Wachovia Bank v . Schmidt, 546 U.S . 303, 318

(2006); see also 28 U.S.C. § 1348 . Chase Bank's articles of incorporation

designate Columbus, Ohio as its main office . Accordingly, Chase Bank is a citizen

of the State of Ohio.

       12. Accordingly, there exists complete diversity of citizenship between

Plaintiffs and Defendants . 3

                                Amount In Controversy

       1 3 . Plaintiffs' Complaint does not state the amount in controversy . (See

Compl .) Plaintiffs' Complaint does, however, seek to enjoin Defendants from

foreclosing on a piece of real property located at 517 Pineland Circle, SW,



  Although Washington Mutual Bank, F .A. ("WaMu") is also named as a
Defendant in the State Court Action, WaMu no longer exists and is thus not a
proper party to this action . See, e.g., Yeomalakis v. F.D.I. C., 562 F.3d 56, 59 (1st
Cir. 2009) (explaining that WaMu was closed in 2008 after it failed) . Accordingly,
neither WaMu's citizenship nor its consent are relevant for purposes of this Notice
of Removal.


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Mableton, Georgia 30126, which property Plaintiffs purchased, at least in part,

with $110,400 in loans . (See Compl, at 3 and Security Deed attached thereto at 1,

3 .) Accordingly, the value of the Property exceeds $75,000 .

         14 . Where a plaintiff seeks injunctive relief related to a foreclosure sale,

"the value of the property determines the financial value at stake" for removal

purposes . See Roper v. Saxon Mortg. Servs ., Inc., No . 1 :09-CV312, 2009 WL

1259193, *2 (N .D. Ga. May 5, 2009) (citing Waller v. Prof'l Ins. Corp ., 296 F.2d

545, 547 (5th Cir . 1961) . Accordingly, the amount in controversy, based on

Plaintiffs' allegations and the exhibits attached to Plaintiffs' Complaint exceeds

$75,000, exclusive of interest and costs .

         WHEREFORE, for the foregoing reasons, Chase Bank and Chase Finance

respectfully request that the State Court Action proceed in this Court and that the

State Court Action be marked as a "related case" to Civil Action No . 1 :10-CV-

4218 .




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Respectfully submitted this 29~` day of December, 2010 .


                                WARGO & FRENCH LLP


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                                Counsel fog Defendants JPMorgan Chase
                                Bank, N.A. & Chase Home Finance, PLC




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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

MARK DEES &
CLAIRE DEES,

                Plaintiffs,

v.                                                         CIVIL ACTION NO .

WASHINGTON MUTUAL BANK, F .A.,
CHASE HOME FINANCE, LLC,
JPMORGAN CHASE, N.A., &
JOHN DOES 1-1000,

                Defendants .

                               CERTIFICATE OF SERVICE

          This certifies that I have this day served a true and correct copy of the within

and foregoing NOTICE OF REMOVAL OF ACTION upon Plaintiffs by U .S .

Mail, postage pre-paid, addressed as follows :

                                Mark & Claire Dees, Pro Se
                        400 Peachtree Industrial Blvd ., Suite 5 #518
                                    Suwanee, GA 30024

          This 29th day of December, 2010 .




                                                  e C. Jared
6489991




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